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                   Exhibit A
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                                                                                 April 29, 2020

                        Federal Bureau of Prisons
                        FOIA/PA Section
                        Office of General Counsel, Room 924
                        320 First Street, N.W.
                        Washington, DC 20534
                        SENT VIA EMAIL: OGC_EFOIA@BOP.GOV

                        Re:       Request Under Freedom of Information Act Concerning COVID-
National Office                   Related Risk, Modeling and Infection Spread in Bureau of Prisons
125 Broad Street,                 Detention Facilities (Expedited Processing & Fee Waiver Requested)
18th Floor
New York, NY 10004
Tel: (212) 549-2500
                        To Whom It May Concern:
Fax: (212) 549-2564
aclu.org                        The American Civil Liberties Union and the American Civil Liberties
                        Union Foundation (together, the “ACLU”)1 submit this Freedom of Information
Susan N. Herman
President
                        Act (“FOIA”) request (the “Request”) for records pertaining to the Trump
                        Administration’s response to the risk of COVID-19 infecting and killing people
Anthony D. Romero       living and working in the detention facilities it administers throughout the
Executive Director      United States, as well as those living in communities near the sites of federal
Richard Zacks           detention centers.
Treasurer
                                                                    I. Background

                               COVID-19 is a disease caused by a new strain of coronavirus that began
                        spreading in December 2019.2 The World Health Organization (WHO) has
                        declared the novel coronavirus outbreak a pandemic.3




                              1
                               The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                        that provides legal representation free of charge to individuals and organizations in civil rights
                        and civil liberties cases, and educates the public about civil rights and civil liberties issues across
                        the country. The American Civil Liberties Union is a separate non-profit, 26 U.S.C. § 501(c)(4)
                        membership organization that educates the public about the civil liberties implications of
                        pending and proposed state and federal legislation, provides analysis of pending and proposed
                        legislation, directly lobbies legislators, and mobilizes its members to lobby their legislators.
                             2
                               World Health Org., Q&A on Coronaviruses (COVID-19) (Mar. 9, 2020),
                        https://www.who.int/news-room/qa-detail/q-a-coronaviruses.
                             3
                               Dr. Tedros Adhanom Ghebreyesus, Dir. Gen., World Health Org., Opening Remarks at the
                        Media Briefing on COVID-19 (Mar. 11, 2020).
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                                The first known case in the United States of COVID-19 was confirmed
                        in the state of Washington on January 20, 2020.4 The White House Coronavirus
                        Task Force was established on January 29.5 On January 31, the Trump
                        Administration declared a public health emergency.6

                                From the outset of the COVID-19 crisis, it was clear that the impact on
                        people living and working in Bureau of Prison detention facilities was
                        potentially catastrophic. Prior to COVID-19, the Department of Justice itself
                        regularly published data on the high rates of death from respiratory disease in
                        state and federal detention.7 BOP has large numbers of elderly and other
                        vulnerable populations in custody.8

                                 As of February 29, 2020, at the peak of the outbreak in Wuhan, China,
                        over half of all new infection cases were incarcerated people.9 The ACLU was
                        sounding the alarm by early March.10 Congressional leaders quickly sought
AMERICAN CIVIL
LIBERTIES UNION         clarity - from March 5 through March 12, 15 U.S. Senators and one U.S.
FOUNDATION              Representative wrote letters to BOP and the Attorney General requesting
                        descriptions on their preparation for and precautions against the spread of
                        COVID-19 in federal facilities.11

                            4
                               Holshue ML, DeBolt C, Lindquist S, Lofy KH, et al. (March 2020). "First Case of 2019
                        Novel Coronavirus in the United States". N. Engl. J. Med. 382 (10): 929–936.
                             5
                               Statement from the Press Secretary Regarding the President's Coronavirus Task
                        Force" (Press release). White House. January 29, 2020. Archived from the original on March 3,
                        2020. Retrieved March 15, 2020.
                        https://web.archive.org/web/20200303171648/https:/www.whitehouse.gov/briefings-
                        statements/statement-press-secretary-regarding-presidents-coronavirus-task-force.
                             6
                               Proclamation on Suspension of Entry as Immigrants and Nonimmigrants of Persons who
                        Pose a Risk of Transmitting 2019 Novel Coronavirus". White House. Archived from the original
                        on February 6, 2020. Retrieved March 22, 2020, available at
                        https://web.archive.org/web/20200206080550/https:/www.whitehouse.gov/presidential-
                        actions/proclamation-suspension-entry-immigrants-nonimmigrants-persons-pose-risk-
                        transmitting-2019-novel-coronavirus.
                             7
                               Bureau of Justice Statistics, Mortality in State and Federal Prisons, 2001-2016 – Statistical
                        Tables, February 2020, available at https://www.bjs.gov/content/pub/pdf/msfp0116st.pdf.
                             8
                               See, e.g., Kim, K. and Peterson, B., Aging Behind Bars: Trends and Implications of
                        Graying Prisoners in the Federal Prison System (August 2014)(
                        https://www.urban.org/sites/default/files/publication/33801/413222-Aging-Behind-Bars-Trends-
                        and-Implications-of-Graying-Prisoners-in-the-Federal-Prison-System.PDF)
                             9
                               Zi Yang, Cracks in the System: COVID-19 in Chinese Prisons, THE DIPLOMAT (March
                        9, 2020), available at https://thediplomat.com/2020/03/cracks-in-the-system-covid-19-in-
                        chinese-prisons.
                             10
                                Maria Morris, ACLU News and Commentary (March 6, 2020), available at
                        https://www.aclu.org/news/prisoners-rights/are-our-prisons-and-jails-ready-for-covid-19/
                             11
                                Letter to Michael Carvajal, BOP Director, from Sen. Kamala Harris (Mar. 5, 2020),
                        available at
                        https://www.harris.senate.gov/imo/media/doc/Letter%20to%20BOP%20Director%20Carvajal.p
                        df; Letter to Michael Carvajal, BOP Director, from Sen. Elizabeth Warren, et al (Mar. 9, 2020),
                        available at https://www.warren.senate.gov/imo/media/doc/2020-03-
                        09%20Senator%20Warren%20Letter%20to%20BOP%20re%20Coronavirus.pdf; Letter to



                                                                           2
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                               Weeks after the first reported COVID-19 case in the United States, on
                        March 13, 2020, the BOP released its first COVID-19 action plan that largely
                        focused on restricting access to prisons and limiting some movement of
                        incarcerated persons.

                               On March 15, the WHO warned that “enhanced consideration should be
                        given to resorting to non-custodial measures at all stages of the administration of
                        criminal justice.”12 On March 18, the American Federation of Government
                        Employees—a union representing federal corrections officers—criticized the
                        government for its “piecemeal steps” to address the coronavirus.13

                                On March 18, in view of the CDC Guidelines that the best practice to
                        avoid exposure to the virus is to maintaining a distance of 6 feet from others,14
                        the ACLU sent a letter to the BOP seeking release of people at risk of serious
                        illness and death from COVID-19, and a reduction of intake to reduce
AMERICAN CIVIL
LIBERTIES UNION         overcrowding.15 The BOP updated its action plan on March 19, indicating that
FOUNDATION              incarcerated persons would continue to be moved under certain limited
                        conditions.16

                               On March 21, 2020, the BOP reported its first confirmed case of
                        COVID-19 at the Metropolitan Detention Center in Brooklyn.17 Within days, the
                        COVID-19 infection rate increased nine-fold, according to BOP’s accounting.18
                        Seven days after this first confirmed case, the BOP reported its first death due to
                        COVID-19 at the Oakdale Federal Correctional Institution in Oakdale,


                        Attorney General William Barr from U.S. Rep. Jerrold Nadler (Mar. 12, 2020), available at
                        https://judiciary.house.gov/uploadedfiles/2020-03-12_letter_to_ag_barr_re_covid-19.pdf..
                             12
                                World Health Organization, Regional Office for Europe, Preparedness, prevention and
                        control of COVID-19 in prisons and other places of detention: Interim guidance (Mar. 15, 2020),
                        http://www.euro.who.int/__data/assets/pdf_file/0019/434026/Preparedness-prevention-and-
                        control-of-COVID-19-in-prisons.pdf.
                             13
                                Press Release, AFGE, Administration Finally Taking Coronavirus Threat Seriously with
                        Latest Guidance but More Must be Done to Protect Federal Workers and Citizens, Union Says
                        (March 18, 2020), available at https://www.afge.org/publication/administration-finally-taking-
                        coronavirus-threat-seriously-with-latest-guidance-but-more-must-be-done-to-protect-federal-
                        workers-and-citizens-union-says.
                             14
                                Centers for Disease Control and Prevention, How to Protect Yourself & Others,
                             https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.
                             15
                                ACLU Letter to BOP (March 18, 2020), available at https://www.aclu.org/letter/aclu-
                        letter-doj-and-bop-coronavirus-and-criminal-justice-system
                             16
                                Congressional Research Service, Federal Prisoners and COVID-19: Background and
                        Authorities to Grant Release (Apr. 23, 2020), available at
                        https://crsreports.congress.gov/product/pdf/R/R46297.
                             17
                                Michael Balsamo, AP Exclusive: 1st Fed Inmate Tests Positive for Coronavirus, NBC
                        NEW YORK (March 21, 2020), available at https://www.nbcnewyork.com/news/local/ap-
                        exclusive-1st-fed-inmate-tests-positive-for-coronavirus/2338122.
                             18
                                Walter Pavlo, Bureau Of Prisons COVID-19 Outbreak Growth Could Overwhelm
                        Agency, FORBES (Mar. 20, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/03/30/bureau-of-prisons-covid-19-outbreak-
                        growth-could-overwhelm-agency/#381490735473.

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                        Louisiana. Patrick Jones was a 49-year-old who was serving a 27-year sentence
                        for a drug offense in a low security facility, and had long-term, pre-existing
                        medical conditions placing him at greater risk of contracting serious illness from
                        COVID-19.19

                                One day before passage of the CARES ACT on March 27, 2020,
                        Attorney General Barr, (AG Barr), directed the BOP to utilize home
                        confinement to decrease the risks to the health of certain incarcerated persons.
                        This directive included criteria that narrowed the number of people eligible for
                        home confinement, specifically, use of the “PATTERN” assessment tool. On
                        March 31, the BOP announced that all incarcerated persons would be placed on
                        a 14-day lock down.20

                                On April 3, 2020, AG Barr issued a second directive to the BOP to
                        instruct it to move vulnerable populations and to give priority consideration to
AMERICAN CIVIL          release persons from institutions where the virus had already spread to dozens of
LIBERTIES UNION
FOUNDATION              staff and incarcerated persons, resulting in the death of five incarcerated persons
                        and one staff member being placed on a ventilator.21 On the same day, the
                        ACLU joined other advocates in an open letter to AG Barr asking that he rescind
                        his March 26 memo highlighting the problematic use of PATTERN because of
                        the likelihood of perpetuating racial disparity in decision-making.22

                                Two days later, the ACLU sued the federal prison at Oakdale, Louisiana
                        after the fifth reported death at that facility, and after Oakdale had failed to
                        release any incarcerated persons despite the outbreak and the Attorney General’s
                        memos.23 Oakdale has had two more deaths and many more infections of
                        incarcerated people and corrections officers since then, but still has not released
                        a single incarcerated person voluntarily.

                              On April 15, 2020, the Inspector General announced remote inspections
                        of COVID-impacted BOP facilities to examine whether they were taking proper


                            19
                                Federal Bureau of Prisons, Press Release, Inmate Death at FCI Oakdale I (Mar. 28, 2020),
                        available at https://www.bop.gov/resources/news/pdfs/20200328_press_release_oak_death.pdf.
                             20
                                Anastasia Tsioulcas, Prisoners Across U.S. Will Be Confined For 14 Days To Cut
                        Coronavirus Spread, NPR (Mar. 31, 2020), available at
                        https://www.npr.org/sections/coronavirus-live-updates/2020/03/31/824917318/prisoners-across-
                        country-will-be-confined-for-14-days-to-cut-coronavirus-spread.
                             21
                               Walter Pavlo, AG William Barr’s Memo To Bureau Of Prisons: ‘Time Is Of The
                        Essence’, FORBES (Apr. 4, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/04/ag-william-barrs-new-memo-to-bureau-
                        of-prisons-time-is-of-the-essence/#42a71b5e6805.
                             22
                                Amer. Civ. Lib. Union, COVID-19 Model Finds Nearly 100,000 More Deaths Than
                        Current Estimates, Due to Failures to Reduce Jails (Apr. 2020), available at
                        https://www.aclu.org/report/flattening-curve-why-reducing-jail-populations-key-beating-covid-
                        19.
                             23
                                David Shortell, ACLU suing for release of inmates at Louisiana facility where five
                        prisoners have died, CNN (April 6, 2020), available at
                        https://www.cnn.com/2020/04/06/politics/aclu-prison-deaths-louisiana/index.html.

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                        precautions against the spread of the coronavirus. The announcement came after
                        repeated complaints by staff and incarcerated persons over unsanitary conditions
                        inside many facilities, the lack of social distancing and problems getting
                        protective equipment such as masks.24

                                On April 20, 2020, incarcerated persons who the BOP had previously
                        approved for home confinement under these directives were informed they no
                        longer met the requirements to qualify for home confinement.25 Before then,
                        these incarcerated persons were informed that they were going to be put into an
                        isolation quarantine in advance of release home, and their families confirmed
                        their residences with Probation Officers. Most were given a date for when they
                        would be released, until they were abruptly told that the DOJ had changed its
                        guidance, requiring them to have served 50 percent of their prison terms.26

                                On the same day, April 20, the Local Council of Prisons C-33, a
AMERICAN CIVIL          federation of unions representing over 33,000 federal employees working in
LIBERTIES UNION
FOUNDATION              BOP facilities, filed a grievance with the Department of Justice over concerns
                        about BOP’s handling of the coronavirus.27 The grievance stated that BOP,
                        among other things, did not permit staff who may have been exposed to
                        coronavirus to self-quarantine for 14-days as recommended by the CDC, and
                        failed to provide personal protective equipment for staff.28

                                On April 21, 2020, M.D. Carvajal, the BOP Director, sent a
                        memorandum to families and friends of people incarcerated in federal facilities
                        outlining COVID-19 safeguards implemented within BOP.29 The memorandum

                            24
                                Sarah Lynch, U.S. Justice Department watchdog to inspect federal prisons' handling of
                        coronavirus, REUTERS (Apr. 15, 2020), available at https://www.reuters.com/article/us-health-
                        coronavirus-usa-prisons/u-s-justice-department-watchdog-to-inspect-federal-prisons-handling-
                        of-coronavirus-idUSKCN21X2Q0.
                             25
                                Walter Pavlo, Lack Of Direction From Bureau Of Prisons Showing In Federal Court,
                        FORBES (Apr. 21, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/21/lack-of-direction-from-bureau-of-prisons-
                        showing-in-federal-court/#32e338a611fe; see also Luke Barr & Alexander Mallin, DOJ clarifies
                        federal inmate release guidance after confusion plagues process (Apr. 24, 2020), available at
                        https://abcnews.go.com/US/doj-clarifies-federal-inmate-release-guidance-confusion-
                        plagues/story?id=70318981.
                             26
                                Walter Pavlo, Bureau Of Prisons Removes Webpage On COVID-19 FAQ Home
                        Confinement, FORBES (Apr. 22, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/22/bureau-of-prisons-removes-webpage-on-
                        covid-19-faq-home-confinement/#6eb1a5ee212e.
                             27
                                Courtney Buble, Union Files National Grievance Over Alleged Safety Violations at
                        Federal Prisons During Coronavirus Pandemic, GOVERNMENT EXECUTIVE (April 20, 2020),
                        available at: https://www.govexec.com/workforce/2020/04/union-files-national-grievance-over-
                        alleged-safety-violations-federal-prisons-during-coronavirus-pandemic/164755/
                            28
                                Id.
                            29
                                Memorandum to Inmate Families and Friends from M.D. Carvajal, BOP Director,
                        COVID-19 Safeguards (Apr. 21, 2020), available at
                        https://www.bop.gov/resources/news/pdfs/202004211_memo_to_inmate_families_and_friends.p
                        df.

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                        described staff screenings and temperature checks when entering facilities,
                        securing people in their cells or assigned quarters, serving meals within units,
                        and aggressive screenings for suitability for transfers to home confinement
                        starting with those incarcerated at facilities with the greatest number of COVID-
                        19 cases. It did not acknowledge the reversed home confinement decisions from
                        the previous day, nor the reported new “50 percent” requirement.

                                 These mixed signals created immediate confusion over how the BOP
                        was and is applying its guidance. On April, 21, 2020, Sen. Chuck Grassley and
                        Sen. Dick Durbin asked the Department of Justice’s Inspector General to
                        investigate whether the BOP was quickly transferring all vulnerable incarcerated
                        people to home confinement, and whether the department had been transparent
                        and accurate when communicating with Congress and the public.30 In fact,
                        earlier that month, Rep. Nadler and Rep. Bass requested the BOP hold regular
                        public briefings on this issue, to no avail.31 On April 22, reporting indicated that
AMERICAN CIVIL
LIBERTIES UNION
                        the BOP removed home confinement FAQ information from its website - a
FOUNDATION              resource families and friends were relying on to understand the process BOP is
                        implementing in determining who may receive transfers to home confinement.32

                                On April 23, 2020, Andre Matevousian, the Acting Assistant Director of
                        the BOP Correctional Programs Division, and Hugh Hurwitz, the Assistant
                        Director of the BOP Reentry Services Division issued a memorandum to Chief
                        Executive Officers rescinding AG Barr’s April 3, 2020 directive, and replacing
                        it with new guidance.33 The new guidance required for home confinement that
                        people have either (1) served 50 percent or more of their sentences or (2) have
                        18 months or less remaining in their sentences and have served 25 percent or
                        more of their sentences, in addition to the prior criteria. It noted that these
                        priority factors are subject to deviation and revision at the BOP’s discretion.




                            30
                                Letter to Michael Horowitz, DOJ Inspector General, from Senators Richard Durbin &
                        Chuck Grassley (Apr. 21, 2020), available at
                        https://www.durbin.senate.gov/imo/media/doc/DOJ%20IG%20COVID-
                        19%20BOP%20letter%20final%20signed.pdf.
                             31
                                See Letter to Attorney General William Barr from Rep. Nadler & Rep. Bass (Apr. 10,
                        2020), available at https://judiciary.house.gov/uploadedfiles/2020-04-
                        10_letter_to_doj_on_covid-19.pdf.
                             32
                                Walter Pavlo, Bureau of Prisons Removes Webpage on COVID-19 FAQ Home
                        Confinement, FORBES (Apr. 22, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/22/bureau-of-prisons-removes-webpage-on-
                        covid-19-faq-home-confinement/#31d98eda212e.
                             33
                                Memorandum to Correctional Program Administrators from David Brewer, Acting Senior
                        Deputy Assistant Director, Furlough and Home Confinement Additional Guidance, available at
                        https://prisonology.com/wp-content/uploads/2020/04/COVID-19-Home-confinement-additional-
                        guidance.pdf.

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                                As of the date of this request, the BOP has reported 1,314 COVID-19
                        positive incarcerated people and 335 staff members, there have been 30 deaths.34
                        BOP’s reports are almost certainly an undercount.35

                               The need for full transparency about BOP’s slow and inconsistent
                        response to COVID-19 is dire and urgent.


                                                             II. Definitions

                                The term “DETENTION FACILITIES” means all detention facilities
                        administered by the BOP including prisons, BOP-run medical facilities, and
                        private contract facilities.

                                The term “OTHER CUSTODIAL SETTING” means all settings outside
AMERICAN CIVIL          Detention Facilities that still constitute BOP custody, including but not limited
LIBERTIES UNION
FOUNDATION              to residential reentry centers or halfway houses, home confinement, or
                        hospitalization.

                                The term “GRIEVANCES” means communications of any kind from
                        people incarcerated in Detention Facilities to the staff of Detention Facilities
                        administered by BOP, including but not limited to administrative remedies
                        (copouts, BP8s, BP9s, BP10s, etc.), Request-to-Staff forms (BP-A0148), other
                        submissions through the Administrative Remedy Program (ARP), and emails
                        filed by people incarcerated in Detention Facilities.

                                The term “COVID-19” means the novel coronavirus disease that
                        appeared in 2019, including both the novel coronavirus, the disease caused by
                        that virus, and any terms commonly used to describe the current public health
                        situation surrounding the disease. The term “COVID-19” should also be
                        construed to include all the other commonly understood iterations of the term,
                        including but not limited to Covid, COVID, COVID19, COVID2019, SARS-
                        nCoV-2, etc.

                                The term “COMMUNICATIONS” means any transmittal of information
                        from one person or entity to another by any means, including letters,
                        correspondence, notes, memoranda, records, reports, papers, facsimiles,
                        electronic mail (whether to, from, copied or blind copied), electronic mail
                        generated from a hand held personal device including a Blackberry or iPhone,
                        instant messaging, electronic mail generated from business or personal email
                        accounts, internet relay chat, news group, group or collaboration servers,


                            34
                                Federal Bureau of Prisons, COVID-19 Coronavirus, https://www.bop.gov/coronavirus.
                            35
                                Walter Pavlo, Bureau Of Prisons Underreporting COVID-19 Outbreaks In Prison,
                        FORBES (Apr. 1, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/01/bureau-of-prisons-underreporting-
                        outbreaks-in-prison/#6a3bbff97ba3.

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                        electronic bulletin boards, electronic discussion boards, dictation tapes, video
                        recordings, audio recordings, digital recordings, memoranda, telegrams,
                        telecopies and telexes, teleconference, collaboration servers (including share
                        point servers), web-based or software virtual meetings including Web-X and any
                        other meeting software and share point servers, and oral contact such as face-to-
                        face discussions or meetings, telephone conversations, and voicemail messages.

                                The term “DOCUMENTS” has the same scope used in Rule 34(a)(1) of
                        the Federal Rules of Civil Procedure and shall encompass every writing or
                        record of every type and description and every tangible thing that is or has been
                        in the possession, custody, or control of the federal agency or agencies that are
                        the subject of this request and their employees, to which they have access, or of
                        which they have knowledge, including, but not limited to, newspaper articles,
                        magazine articles, news articles, correspondence, letters, contracts, files,
                        electronic mail, memoranda, stenographic notes, handwritten notes, drafts,
AMERICAN CIVIL
LIBERTIES UNION         studies, publications, books, pamphlets, catalogs, purchase orders, receipts,
FOUNDATION              advertisements, direct mail solicitations, point-of-sale and point-of-purchase
                        materials, notebooks, diaries, models, devices, pictures, photographs, films,
                        audiotapes, videotapes, computer records, voice recordings, maps, reports,
                        surveys, minutes, data compilations, and statistical compilations, regardless of
                        whether a particular DOCUMENT is privileged or confidential, and regardless
                        of the form of storage (including, but not limited to, paper, microfiche, magnetic
                        tape, magnetic disk (hard disk or floppy disk), CD-ROM, DVD, optical disk, or
                        electronic storage device).

                                                      III. Requested Records

                                The ACLU seeks the release of all the following information, dated
                        November 1, 2019 to the present unless otherwise noted, in the custody or
                        control of the BOP:

                               1. All communications and documents discussing actions to address the
                                  risk of COVID-19 for people living and working in Detention
                                  Facilities and the likely outcomes of those actions;

                               2. All communications and documents related to estimating or
                                  predicting COVID-19 testing capacity, infection spread, and likely
                                  mortality among people living and working in Detention Facilities;

                               3. All communications and documents regarding suspected or
                                  confirmed COVID-19-related exposures, infections, and deaths
                                  among individuals living and working in Detention Facilities;

                               4. All communications and documents regarding the risk of spreading
                                  COVID-19 to the communities surrounding Detention Facilities via



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                                 movement of staff, private contractors, visitors, incarcerated people,
                                 and others into, out of, and between those facilities;

                              5. All communications and documents between or among Detention
                                 Facility employees, including executive staff, supervisors, and staff,
                                 regarding employees’ access to hygiene, access to protective
                                 equipment, social distancing or lack thereof, or other risks of
                                 employee exposure to COVID-19 within Detention Facilities;

                              6. All communications and documents regarding COVID-19-related
                                 Grievances, including but not limited to those discussing access to
                                 hygiene, protective equipment, social distancing or lack thereof, or
                                 other risks of exposure to COVID-19 within Federal Detention
                                 facilities, and including but not limited to communications and
                                 documents regarding how Detention Facility employees should
AMERICAN CIVIL
LIBERTIES UNION                  respond to Grievances in light of changing DOJ and BOP guidance;
FOUNDATION

                              7. All communications and documents dated January 1, 2016 to the
                                 present regarding action plans or other responses to be taken in the
                                 event of a potential infectious disease outbreak within Detention
                                 Facilities, including but not limited to an outbreak like that of
                                 COVID-19;

                              8. All communications and documents reflecting the models or
                                 algorithms used to estimate or predict COVID-19 infection rates and
                                 likely mortality throughout the country, including whether any
                                 models or algorithms took into account the spread of COVID inside
                                 and through Detention Facilities;

                              9. All communications and documents regarding COVID-19 testing
                                 within Detention Facilities, including but not limited to the number
                                 of tests administered to both staff and incarcerated people, the
                                 number projected to be administered to both staff and incarcerated
                                 people, plans to publicly report the results of those tests, the
                                 frequency with which test results will be reported publicly, and the
                                 timeline for administering those tests;

                              10. All communications and documents regarding Congressional or
                                  state-based inquiries into COVID-19-related issues within Detention
                                  Facilities, including but not limited to responses provided thereto;

                              11. All communications and documents containing or regarding
                                  guidance on transfer of people incarcerated at Detention Facilities to
                                  Other Custodial Settings, or release from Detention Facilities to non-
                                  custodial settings, due to COVID-19, including but not limited to:


                                                                9
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                                     a. Determination of which people incarcerated are eligible for and
                                        will ultimately be cleared for transfer or release, including but not
                                        limited to determination of which people incarcerated are
                                        vulnerable to COVID-19 contraction on the basis of health or
                                        age;

                                     b. Creation of and changes to the criteria used to determine which
                                        eligible people will ultimately be cleared for transfer or release,36
                                        including but not limited to Attorney General Barr’s March 26
                                        and April 3, 2020 memoranda, and BOP’s April 21, 2020
                                        memoranda;

                                     c. How DOJ or BOP determined, quantified, or measured how
                                        denying transfer or release based on these criteria would benefit
                                        public safety more than transferring or releasing incarcerated
AMERICAN CIVIL
LIBERTIES UNION                         persons to Other Custodial Settings or non-custodial settings to
FOUNDATION                              avoid harm to those persons, to Detention Facility employees,
                                        and/or to people living in communities near Detention Facilities;

                                     d. Guidance provided to United States Attorneys and Assistant
                                        United States Attorneys in granting or opposing compassionate
                                        release and other motions for reduced sentences based in whole
                                        or in part on COVID-19.

                                With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
                        ACLU requests that responsive electronic records be provided electronically in
                        their native file format, where possible. Alternatively, the ACLU requests that
                        the records be provided electronically in a text-searchable, static-image format
                        (PDF), in the best image quality in the agency’s possession, and that the records
                        be provided in separate, Bates-stamped files.

                                                IV. Application for Expedited Processing

                                 The ACLU requests expedited processing pursuant to 5 U.S.C.
                        § 552(a)(6)(E). There is a “compelling need” for these records, as defined in the
                        statute, because the information requested is “urgen[tly]” needed by an
                        organization primarily engaged in disseminating information “to inform the
                        public concerning actual or alleged Federal Government activity.” 5
                        U.S.C. § 552(a)(6)(E)(v)(II).




                             36
                                For example, in BOP’s April 10, 2020 Declaration of Juan Segovia, submitted in the
                        Oakdale litigation, Mr. Segovia asserted that an incarcerated person was not required to have
                        completed 50% of their sentence to be considered for transfer. On April 20, 2020, BOP
                        reinstated that criterion.

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                        A.      The ACLU is an organization primarily engaged in disseminating
                                information in order to inform the public about actual or alleged
                                government activity.

                                The ACLU is “primarily engaged in disseminating information” within
                        the meaning of the statute. See id. Obtaining information about government
                        activity, analyzing that information, and widely publishing and disseminating it
                        to the press and public are critical and substantial components of the ACLU’s
                        work and are among its primary activities. See ACLU v. Dep’t of Justice, 321 F.
                        Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding non-profit public interest group that
                        “gathers information of potential interest to a segment of the public, uses its
                        editorial skills to turn the raw material into a distinct work, and distributes that
                        work to an audience” to be “primarily engaged in disseminating
                        information”).37
AMERICAN CIVIL
LIBERTIES UNION                 The ACLU regularly publishes STAND, a print magazine that reports on
FOUNDATION              and analyzes civil liberties-related current events. The magazine is disseminated
                        to over 900,000 people. The ACLU also publishes regular updates and alerts via
                        email to over 3.1 million subscribers (both ACLU members and non-members).
                        These updates are additionally broadcast to over 4 million social media
                        followers. The magazine as well as the email and social-media alerts often
                        include descriptions and analysis of information obtained through FOIA
                        requests.

                               The ACLU also regularly issues press releases to call attention to
                        documents obtained through FOIA requests, as well as other breaking news, and
                        ACLU attorneys are interviewed frequently for news stories about documents
                        released through ACLU FOIA requests.

                                 Similarly, the ACLU publishes reports about government conduct and
                        civil liberties issues based on its analysis of information derived from various
                        sources, including information obtained from the government through FOIA
                        requests. This material is broadly circulated to the public and widely available to
                        everyone for no cost or, sometimes, for a small fee. ACLU national projects
                        regularly publish and disseminate reports that include a description and analysis
                        of government documents obtained through FOIA requests. The ACLU also
                        regularly publishes books, “know your rights” materials, fact sheets, and
                        educational brochures and pamphlets designed to educate the public about civil
                        liberties issues and government policies that implicate civil rights and liberties.




                             37
                                Courts have found that the ACLU as well as other organizations with similar missions
                        that engage in information-dissemination activities similar to the ACLU are “primarily engaged
                        in disseminating information.” See, e.g., Leadership Conference on Civil Rights v. Gonzales, 404
                        F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5; Elec. Privacy Info. Ctr. v.
                        DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).

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                                The ACLU publishes a widely read blog where original editorial content
                        reporting on and analyzing civil rights and civil liberties news is posted daily.
                        See https://www.aclu.org/blog. The ACLU creates and disseminates original
                        editorial and educational content on civil rights and civil liberties news through
                        multi-media projects, including videos, podcasts, and interactive features. See
                        https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
                        disseminates information through its heavily visited website, www.aclu.org. The
                        website addresses civil rights and civil liberties issues in depth, provides features
                        on civil rights and civil liberties issues in the news, and contains many
                        thousands of documents relating to the issues on which the ACLU is focused.
                        The ACLU’s website also serves as a clearinghouse for news about ACLU
                        cases, including analysis about case developments and an archive of case-related
                        documents. Through these pages, and with respect to each specific civil liberties
                        issue, the ACLU provides the public with educational material, recent news,
                        analyses of relevant congressional or executive branch action, government
AMERICAN CIVIL
LIBERTIES UNION         documents obtained through FOIA requests, and further in-depth analytic and
FOUNDATION              educational multi-media features.

                               The ACLU plans to analyze, publish, and disseminate to the public the
                        information gathered through this Request. The records requested are not sought
                        for commercial use and the Requesters plan to disseminate the information
                        disclosed as a result of this Request to the public at no cost.

                        B.     The records sought are urgently needed to inform the public about
                               actual or alleged government activity.

                                These records are urgently needed to inform the public about actual or
                        alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically,
                        they pertain to the Trump Administration’s response to the risk of COVID-19
                        infecting and killing people living and working in the detention facilities it
                        administers throughout the United States. As discussed in Part I, supra, this
                        issue is the subject of widespread public controversy and media attention. The
                        records sought relate to a matter of widespread and exceptional media interest in
                        the COVID pandemic.

                                Further underscoring the urgency of informing the public about the issue
                        in this Request is the strong media interest in what little has been revealed
                        publicly about that conduct. Given this media interest and the lack of public
                        information about the basis and need for the information at issue, there is an
                        urgent need to inform the public about the response to the COVID pandemic
                        inside of federal detention facilities. Expedited processing is therefore
                        appropriate under 5 U.S.C. § 552(a)(6)(E).




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                                         V. Application for Waiver or Limitation of Fees

                                The ACLU requests a waiver of document search, review, and
                        duplication fees on the grounds that disclosure of the requested records is in the
                        public interest and because disclosure is “likely to contribute significantly to
                        public understanding of the operations or activities of the government and is not
                        primarily in the commercial interest of the requester.” 5 U.S.C.
                        § 552(a)(4)(A)(iii). The ACLU also requests a waiver of search fees on the
                        grounds that the ACLU qualifies as a “representative of the news media” and the
                        records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                        A.     The Request is likely to contribute significantly to public understanding
                               of the operations or activities of the government and is not primarily in
                               the commercial interest of the ACLU.
AMERICAN CIVIL
LIBERTIES UNION                 As discussed above, this Request concerns the response to the COVID
FOUNDATION              pandemic inside of federal detention facilities. Insufficient information is
                        publicly available regarding the issue in this Request, so the records sought are
                        certain to contribute significantly to the public’s understanding of
                        the response to the COVID pandemic inside of federal detention facilities, with
                        regarding to people living and working in these facilities, and those living in the
                        surrounding communities.

                               The ACLU is not filing this Request to further its commercial interest.
                        As described above, any information disclosed by the ACLU as a result of this
                        FOIA Request will be available to the public at no cost. Thus, a fee waiver
                        would fulfill Congress’s legislative intent in amending FOIA. See Judicial
                        Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress
                        amended FOIA to ensure that it be liberally construed in favor of waivers for
                        noncommercial requesters.” (quotation marks omitted)).

                        B.     The ACLU is a representative of the news media and the records are not
                               sought for commercial use.

                                The ACLU also requests a waiver of search fees on the grounds that the
                        ACLU qualifies as a “representative of the news media” and the records are not
                        sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The ACLU meets the
                        statutory and regulatory definitions of a “representative of the news media”
                        because it is an “entity that gathers information of potential interest to a segment
                        of the public, uses its editorial skills to turn the raw materials into a distinct
                        work, and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III);
                        see also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir.
                        1989) (finding that an organization that gathers information, exercises editorial
                        discretion in selecting and organizing documents, “devises indices and finding
                        aids,” and “distributes the resulting work to the public” is a “representative of
                        the news media” for purposes of the FOIA); Serv. Women’s Action Network v.


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                        Dep’t of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including
                        ACLU, were representatives of the news media and thus qualified for fee
                        waivers for FOIA requests to the Department of Defense and Department of
                        Veterans Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011
                        WL 887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                        Washington is an entity that “gathers information of potential interest to a
                        segment of the public, uses its editorial skills to turn the raw materials into a
                        distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp.
                        2d at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                        disseminating information”). The ACLU is therefore a “representative of the
                        news media” for the same reasons it is “primarily engaged in the dissemination
                        of information.”

                                Furthermore, courts have found other organizations whose mission,
                        function, publishing, and public education activities are similar in kind to the
AMERICAN CIVIL
LIBERTIES UNION         ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
FOUNDATION              Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr.,
                        241 F. Supp. 2d at 10–15 (finding non-profit public interest group that
                        disseminated an electronic newsletter and published books was a “representative
                        of the news media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at
                        1387; Judicial Watch, Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54
                        (D.D.C. 2000) (finding Judicial Watch, self-described as a “public interest law
                        firm,” a news media requester).38

                               On account of these factors, fees associated with responding to FOIA
                        requests are regularly waived for the ACLU as a “representative of the news
                        media.”39 As was true in those instances, the ACLU meets the requirements for
                        a fee waiver here.


                            38
                                Courts have found these organizations to be “representatives of the news media” even
                        though they engage in litigation and lobbying activities beyond their dissemination of
                        information and public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                        Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                        Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                             39
                                The ACLU regularly receives FOIA fee waivers from federal agencies. For example, in
                        June 2018, the U.S. Citizenship and Immigration Services granted a fee-waiver request
                        regarding a FOIA request for documents relating to the use of social media surveillance. In
                        August 2017, CBP granted a fee-waiver request regarding a FOIA request for records relating to
                        a muster sent by CBP in April 2017. In June 2017, the Department of Defense granted a fee-
                        waiver request regarding a FOIA request for records pertaining to the authorities approved by
                        President Trump in March 2017 which allowed U.S. involvement in Somalia. In June 2017, the
                        Department of Defense, the CIA, and the Office of Inspector General granted fee-wavier
                        requests regarding a FOIA request for records pertaining to U.S. involvement in the torture of
                        detainees in prisons in Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May
                        2017, CBP granted a fee-waiver request regarding a FOIA request for documents related to
                        electronic device searches at the border. In April 2017, the CIA and the Department of State
                        granted fee-waiver requests in relation to a FOIA request for records related to the legal
                        authority for the use of military force in Syria. In March 2017, the Department of Defense Office



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                                                             *        *        *

                               Pursuant to applicable statutes and regulations, the ACLU expects a
                        determination regarding expedited processing within 10 days. See 5 U.S.C.
                        § 552(a)(6)(E)(ii).

                                If the Request is denied in whole or in part, the ACLU asks that you
                        justify all deletions by reference to specific exemptions to FOIA. The ACLU
                        expects the release of all segregable portions of otherwise exempt material. The
                        ACLU reserves the right to appeal a decision to withhold any information or
                        deny a waiver of fees.

                               Thank you for your prompt attention to this matter. Please furnish the
                        applicable records to:
AMERICAN CIVIL
LIBERTIES UNION                 Taylor Pendergrass
FOUNDATION                      American Civil Liberties Union
                                125 Broad Street, 18th Floor
                                New York, New York 10004
                                T: 212.549.2500
                                F: 212.549.2654
                                tpendergrass@aclu.org




                        of Inspector General, the CIA, and the Department of State granted fee-waiver requests
                        regarding a FOIA request for documents related to the January 29, 2017 raid in al Ghayil,
                        Yemen. In June 2016, the Office of the Director of National Intelligence granted a fee-waiver
                        request regarding a FOIA request related to policies and communications with social media
                        companies’ removal of “extremist” content. In May 2016, the FBI granted a fee-waiver request
                        regarding a FOIA request issued to the Department of Justice for documents related to
                        Countering Violent Extremism Programs.

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                           I affirm that the information provided supporting the request for expedited
                        processing is true and correct to the best of my knowledge and belief. See 5
                        U.S.C. § 552(a)(6)(E)(vi).

                                                             Sincerely,




                                                             __________________________
                                                             Taylor Pendergrass, Esq.
                                                             Somil Trivedi, Esq.
                                                             Nicole Fortier, Esq
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